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                       FILED UNDER SEAL




               EXHIBIT 9
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EHLJEIEI"          Chubb Group of lnsurance Companies
                      2028 Hall's Mill Road
                                                             CHUBB PRO LAWYERS
                      Whitehouse Station, NJ 0BBB9                                  PRO FESS'ONA L LI ABI LITY

  DECLARATIONS                                                         FEDERAL I NSURANCE COM PANY
                                                                       A stock insurance company, incorporated under the
                                                                       laws of lndiana, herein called the Company

                                                                       Capital Center, 251 North lllinois, Suite 1100
                                                                       lndianapolis, lN 46204-1927

                                                                       Policy Number: 6801 -7832


  NOTICE: THIS lS A CLAIMS MADE POLICY, WHICH APPLIES ONLY TO "CLAIMS" FIRST MADE DURING
  THE "POLICY PERIOD,'' OR ANY EXTENDED REPORTING PERIOD. THE LIMIT OF LIABILITY TO PAY
  DAMAGES OR SETTLEMENTS WILL BE REDUCED AND MAY BE EXHAUSTED BY "DEFENSE COSTS,''
  AND''DEFENSE COSTS'' WILL BE APPLIED AGAINST THE RETENTION AMOUNT. IN NO EVENT WILL THE
  COMPANY BE LIABLE FOR "DEFENSE COSTS'' OR THE AMOUNT OF ANY JUDGMENT OR SETTLEMENT
  IN EXCESS OF THE APPLICABLE LIMIT OF LIABILITY. THE COVERAGE AFFORDED UNDER THIS POLICY
  DIFFERS IN SOME RESPECTS FROM THAT AFFORDED UNDER OTHER POLICIES. READ THE ENTIRE
  POLICY CAREFULLY.

  ITEM    1     FIRM .NAME AND ADDRESS:
                Brown, Goldstein & Levy, LLP
                120 E. Baltimore Street, Suite 1700
                Baltimore, MD21202

  ITEM 2.       pREDECESSOR FIRM(S) -NAME AND ADDRESS
                N/A

  ITEM 3.       POLICY PERIOD:
                (A) lnception Date: November 21, 2018

                (B)    Expiration Date: November 21, 2019
                       al 12:01a.m. both dates at the Address in ITEM           1



  ITEM    4.    LIMITS OF LIABILITY (inclusive of Defense Costs)

                  A $        2,000,000.00 maximum limit of liability each Claim
                 (B $           50,000.00 maximum aggregate lrmit of liability under this Policy for all disciplinary       and
                                          grievance proceedings
                 (c)$        2,000,000.00 maximum aggregate lrmit of liability under this Policy for all Claims.


  ITEM    5.    RETENTION AMOUNT: $25,000.00 each Claim or Related Claims.


  ITEM    6.    EXTENDED REPORTING PERIOD:

                 (A)    Additional Period            (B)    Additional Premium
                        1 Year                              150 % of Annual Premium
                        2 Year                              225 % of Annual Premium
                        3 Year                              300 % of Annual Premium


  tTEM    7.    PENDING OR PRIOR DATE: November 21,2004 at 12:01 a.m. at the Address in ITEM                            1




  ITEM    8.    PREMIUM: $ 102,042.O0

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These Declarations, the completed signed Application and this Policy with Endorsements shall constitute
the contract between the lnsured and the Company.


ln witnesswhereof, the Company issuing this Policy has caused this Policy to be signed by its authorized
officerg butitshall notbevalidunlessalso signed by a duly authorized representative of the Company.



                                   F*
                                          FEDERAL INSURANCE COMP


      #/{ 4                                                                4-%,.*6'?
                                   tary                                      President


                                                                                         ,,
                             11124118
                              Date




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ln consideration of payment of the premium and subject to the Declarations,limitations, conditions, provisions and
otherterms of this Policy, the Company and the lnsured agree as follows:


       INSURING CLAUSE

       The Company shall pay Losson behalf of an lnsured on accountof any Claim first made against such
       lnsured during the Policy Period or, if exercised, during the Extended Reporting Period, for a Wrongful
       Act committed by the lnsured before or during the Policy Period.


       DEFINITIONS

       Application means all signed applications, including attachments and other materials submitted therewith
       or referenced or incorporated therein, submitted by or on behalf of the lnsured to the Company for this
       Policy or for any policy of which this Policy is a direct or indirect renewal or replacement. All such
       applications, attachments and materials are deemed attached to, incorporated into and made a part of this
       Policy.

       Claim means:

       (1)      any of the following:

                (a)     a written demand or written request for monetary damages or non-monetary relief,

                (b)     a written demand for arbitration;

                (c)     a ciMl proceeding commenced by the service of a complaint or similar pleading; or

                (d)     a formal ciMl administrative or ciMl regulatory proceeding (including a disciplinary or
                        grier,ance proceeding before a court or bar association) commenced by the filing of a
                        notice of charges or s imilar document or by the entry of a formal order of investigation or
                        srmilar document,

                against an lnsured for a Wrongful Act, including any appeal therefrom; or

       (2)      a written request received by an lnsured to toll or waive a statute of limitations relating to         a
                potential Claim described in paragraph (1) above.

       Except as mayotherwise be proMded in Section X Reporting, a Claim will be deemed to have been first
       made when such Claim is commenced as set forth in this definition (or, in the case of a written demand or
       written request, including but not limited toa demand for arbitration, when such demand or request ts first
       received by an lnsured).

       Controlled Enterprise means any business enterprise (other than an lnsured or a business enterprise in
       which the ownership, control, operation or management by the lnsured is exclusively in a fiduciary capacity
       as an administrator, conservator, executor, trustee, guardian, receiver or committee or in any similar
       fiduciary capacity incidental to the practice of law by an lnsured) if at the time the Wrongful Act occurs:

       (1)      such business enterprise is a publicly traded entity and five percent (5%) or more of its issued and
                outstanding securities or vrting rights to elect or appoint a board of directors or an equilalent
                governing body is owned or controlled, individually or collectively, by the Firm or by one or more
                lnsured Persons;



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       (2)      such business enterprise is not a publicly traded entity and twenty-five percent (25%) or more of
                the legal and/or equitable ownership of such enterprise is owned or controlled, indiMdually or
                collectively, by the Firm or by one or more lnsured Percons, or

       (3)      such business enterprise is controlled, operated or managed by the Firm or by one or more
                lnsured Persons.

       Defense Costs means that part of Loss consisting of reasonable costs, charges, fees (including attorneys'
       fees and experis'fees) and expenses (other than regular or overtime wages, salaries, fees, overhead or
       benefits of any lnsured) incurred in defending any Claim and the premium for appeal, attachment or
       similar bonds; proMded that the Company will har,re no obligation to procure or proMde any bonds.

       Domestic Pa rtner means any natural person qualfying as a domestic parlner under the proMsions of any
       applicable federal, state or local law or under the proVsions of any formal program established by the Firm.

       Financial lmpairment means the status of a Firm resulting from.

       (1)      the appointment by any state or federal official, agency or court of any receiver, consenator,
                liquidator, trustee, rehabilitator or similar official to take control of, supervise, manage or liquidate
                the Firm; or

       (2)      the Firm becoming a debtor in possession under the United States bankruptcy law or                      the
                equivalent of a debtor in possession under the law of any other country.

       Firm means the organization(s) engaged in the practice of law under the name(s) set forth in ITEM 1 of the
       Declarations, whether as a partnership, professionalcorporation or association, limited liability partnership,
       limited liability company or otheruuise, and any predecessor firm(s) designated in ITEM 2 of the
       Declarations.

       lnsured means the Firm and any lnsured Person

       lnsured Person means any natural person or entity:
       (1)      whowas, now is or shall become a partner, principal, director, officer, shareholder or member of
                the Firm;

       (2)      whowas, nowisorshall becomedesignated(asevidencedintheFirm'srecords) as "counsel" or
                "of counsel" by the Firm; or

       (3)      whose labor or service is engaged by and directed by the Firm to perform Professional Services,
                including full time, part-time, seasonal, contracted, leased and temporary employees, or ltoluntees,

       but only while acting in his, her or its capacity as such.

       lntra Firm Representation means Professional Services proMded with the prior written consent of the
       Firm by an lnsured Person to any other:

       (1)      lnsured Person or his or her estate in connection with estate planning matters, estate
                administration, trust administration or probate proceedings; or

       (2)      lnsured Person in connection with house or apartment closings, personal bankruptcies,
                incorporation of family businesses or personal injury litigation.




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          Loss means the amount that an lnsured becomes legally obligated to pay as a result of any covered
          Claim, including but not limited to damages (including punitive or exemplary damages if and to the extent
          that such punitive or exemplary damages are insurable under the law of the jurisdiction most far'orable to
          the insurability of such damages, provided such jurisdiction has a substantial relationship to the relevant
          lnsured, to the Company, or to the Claim giMng rise to the damages), judgments, settlements, pre-
          judgment and post-judgment interest and Defense Cos1s. Loss does not include:

          (1)      any costs incurred by an lnsured to comply with any order for injunctive or other non-monetary
                   relief, or to comply with an agreement to proMde such relief;
          (2)      any amount incurred by an lnsured in the defense or investigation of any action, proceeding,
                   demand or request that is not then a Claim even if such matter subsequently gives rise to a Claim;
          (3)      taxes, fines, penalties (except as provded above with respect to punitive or exemplary damages),
                   liquidated damages or the multiple portion of any multiplied damage award;

          (4)      the cost of correcting, re-performing or completing any Professional Services or any amount
                   which constitutes restitution, reduction, disgorgement, or set off or return of any fees or expenses
                   paid to or charged by an lnsured for Professional Services; or
          (5)      any amount not insurable under the law pursuant to which this Policy is construed.

          Personal lnjury means libel, slander, disparagement, Molation of rights of privacy, false arrest, detention
          or imprisonment, wrongful entry or eviction, malicious prosecution or abuse of process.

          Policy Period means the period of time set forth in ITEM 3 of the Declarations, subject to any prior
          termination in accordance with Section )C( Termination of Policy.

          Pollutants means any substance located anywhere in the world exhibiting any hazardous characteristics
          as defined by, or identified on a list of hazardous substances issued by the United States Environmental
          Protection Agency or any state, county, municipality or locality counterpart thereof. Such substances shall
          include, without limitation, solid, liquid, gaseous orthermal irritants, contaminants, smoke, vapor, soot,
          fumes, acids, alkalis, chemicals orwaste materials. Pollutants shall also include any air emission, odor,
          wastewater, oil or oil products, infectious or medical waste, asbestos or asbestos products and any noise.

          Pollution means the actual, alleged or threatened exposure to, or generation, storage, transportation,
          discharge, emission, release, dispersal, escape, treatment, removal or disposal of Pollutants or any
          request, demand, order or regulatory or statutory requirement that any lnsured or others test for, monitor,
          clean up, remove, contain, treat, detoxrfu or neutralize, or in any way respond to, or assess the effects of
          any Pollutants, or any voluntary decision to do so.

          Professional Services means services proMded to others by an lnsured as:

          (1)      an attorney or notary public;

          (2)      an administrator. conserr,ator, executor, trustee, guardian, escrow agent, receiver or committee or
                   in any similar fiduciary capacity incidental to the practice of Iaw by the Firm;

          (3)      an arbitrator or mediator;

          (4)      a member, director or officer of any non-profit professional legal association, its governing board, or
                   any of its committees;

          (5)      a government affairs adMsor or lobbyist;




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          (6)      a title insurance agent pursuantto a written agency agreementwith a licensed title insurance
                   company, but only when acting in such capacity for real estate transactions for which an lnsured
                   has proMded services as an attorney; or

          (7)      a paralegal or legal assistant, solely in connection with the performance of Professional Seruices
                   by an lnsured,

          butonlyif suchservicesareperformedinthenameof oron behalf of theFirm andsomeorall ofthefee, if
          any, accruing from such services (regardless of whether such fee is actually collected) inures to the benefit
          oftheFirm. Professionalservicesshall notincludetheproMsionofanyfinancial orinvestmentadMce.
          Related Claims means all Claims based upon, arising from, or in consequence of the same or related
          facts, circumstances, situations, transactions or events or the same or related series of facts,
          circumstances, situations, transactions or events.

          Wrongful Act means any actual or alleged act, error or omission committed, attempted, or allegedly
          committed or attempted, solely in the performance of or failure to perform Professional Services by the
          Firm or by an lnsured Person acting in his or her capacity as such on behalf of the Firm.


III.      EXCLUSIONS

          (A)      The Company shall not be liable for Loss on account of any Claim:

                   (1)      based upon, arising from, or in consequence of any fact, circumstance, situation,
                            transaction, erent or Wrongful Act that was the subject of any notice given under any
                            policy of which this Policy is a direct or indirect renewal or replacement;

                   (2)      based upon, arising from or in consequence of any fact, circumstance, situation,
                            transaction, event or Wrongful Act occurring prior to the inception date of the first lawyers
                            professional liability policy issued to the Firm by the Company which, prior to such
                            inception date, any lnsured kneworshould have known might give rise to a Claim;

                   (3)      based upon, arising from, or in consequence of any demand, suit or other proceeding
                            pendingagainst, ororder,decreeorjudgmententeredfororagainstanylnsured,onor
                            prior to the Pending or Prior Date set forth in ITEM 7 of the Declarations, or the same or
                            substantiallythe samefact, circumstance, situation, transaction, event or Wrongful Act
                            underlying or alleged therein;

                   (4)      based upon, arising from, or in consequence of Pollution; proVded that this exclusion
                            shall only apply where the lnsured is an actual or alleged owner, lessee or operator of the
                            property in question;

                   (5)      for bodily injury, mental anguish, emotional distress (except mental anguish and emotional
                            distress resultrng from Personal lnjury), sickness, disease or death of any person or
                            damage to, destruction of or loss of use of any property (including software, data or other
                            information that is in electronic form), wheiher or not it is damaged or destroyed; proMded
                            that this Exclusion shall not apply to any Claim directly arising out of Professional
                            Services performed as a guardian, conservator or committee of any person or property;

                   (6)      for any actual or alleged violation by an lnsured of the responsibilities, obligations or duties
                            imposed on fiduciaries by the Employee Retirement lncome Security Act of 1974, or any
                            amendments thereto, or any rules or regulations promulgated thereunder, or any similar
                            proVsions of any federal, state, or local statutory law or common law anywhere in the
                            world;


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                  (7)         by or on behalf of, in the name or right of, or based upon, arising from or in consequence
                              of   any Wrongful Act on the part of any lnsured in connection with any Controlled
                              Ente rp rise   ;




                  (B)         based upon, arising from, or in consequence of the service of any lnsured Person in his
                              or hercapacity as a partner, member, principal, director, officer, shareholder, counsel, of
                              counsel, or employee of any entity other than the Firm; provded that this Exclusion shall
                              not apply where the lnsured Person is acting in his or her capacity as a member, director
                              or officer of any non-profit professional legal association, its governing board, or any of its
                              committees with the consent of the Firm;

                  (e)         brought ormaintained by oron behalf of any lnsured in any capacity, otherthan as a client
                              in connection with lntra Firm Representation;
                  (10)        for any actual or alleged infringement of any certification mark, copyright, patent or
                              trademark (including collective or service marks), trade secret, trade name, trade dress,
                              misappropriation of ideas or other intellectual property by an lnsured; or

                  (1 1)       based upon, arising from, or in consequence of Professional Services performed as a
                              title insurance agent where there allegedly exists:

                              (a)      any defect in title of which any lnsured had actual knowledge as of the date the
                                       title insurance policy was issued by orthrough any lnsured; or

                              (b)      any actual or alleged breach of underuvriting authority by an lnsured.

(B)       The Company shall not be liable for Loss on account of any Claim against an lnsured:

                  (1)         based upon, arising from or in consequence of such lnsured haMng gained in fact any profit,
                              remuneration or adrantage to which such lnsured was not legally entitled; or
                  (2)         based upon, arising from or in consequence of any deliberately fraudulent or dishonest act
                              or omission or any willful violation of any statute or regulation by such lnsured, or any libel
                              or slander committed by such lnsured with knowledge of its falsity,

                  as eMdenced by (i) any written statement or written document by any lnsured or (ii) any judgment
                  or ruling in any judicial, administrative or alternative dispute resolution proceeding.


IV        SPOUSES, ESTATES AND LEGAL REPRESENTATIVES

          Coverage shall extend to Claimsforthe Wrongful Actsof an lnsured Person made against:

          (a)     the lawful spouse or Domestic Partner of such lnsured Person, if named as a co-defendant with
                  such lnsured Person solely by reason of such person's status as a spouse or Domestic Partner,
                  or such spouse or Domestic Partner's ownership interest in property that is sought by a claimant
                  as recovery for an alleged Wrongful Act of such lnsured Person; and

          (b)     the estate, heirs, legal representatives or assigns of such lnsured Person if such lnsured Person
                  is deceased orthe legal representatives orassignsof such lnsured Person if such lnsured
                  Person is incompetent, insolvent or bankrupt.

          All terms and conditions of this Policy including, without limitation, the Retention Amount applicable to Loss
          incurred by the lnsured Person, shall also apply to Loss incurred by the lnsured Person's spouse,
          Domestic Partner, estate, heirs, legal representatives or assigns. The coverage proMded by this Section
          lV. shall not apply with respect to any loss arising from an act or omission by an lnsured Person's estate,
          heirs, legal representatives, assigrs, spouse or Domestic Partner.

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V.        OTHER INSURANCE

          This Policy shall be specifically excess orrer, and shall not contribute with, any other valid and collectible
          insurance, whether such other insurance is stated to be primary, contributory, excess (except insurance
          specifically in excess of this Policy), contingent or otherwise. This Policy will not be subject to the terms of
          any other insurance.


VI        TERRITORY

          Coverage shall extend anywhere in the world


VII.      EXTENDED REPORTING PERIOD

          (A)      lf the Company or the Firm terminates or does not renew this Policy, other than termination by the
                   Company for nonpayment of premium, then the Firm shall have the right to purchase an Extended
                   Reporting Period for either the twelve (12) month period, twenty-four (24) month period or thirty-six
                   (36) month period beginning on the effective date of the termination or non-renewal of this Policy.
                   This right to purchase an Extended Reporting Period shall lapse unless written notice of election to
                   purchase the Extended Reporting Period, together with payment of the additional premium due, as
                   set forth in ITEM 6 of the Declarations, is received by the Company within thirty (30)days following
                   effective date of the termination or non-renewal of this Policy. The Firm may not change the option
                   selected once that selection has been made.

          (B)      lf the Extended Reporling Period is purchased, then coverage otheruuise afforded by this Policy will
                   be extended to apply to Lossfrom Claimsfirst made during such Extended Reporting Period and
                   reported in accordance with Section X Reporting, but only for Wrongful Acts committed or
                   allegedly committed before the effective date of termination or nonrenewal or the date of any event
                   described in Section Xll(B) Changes in Exposure, whichever is earlier. The entire additional
                   premium for the Extended Reporting Period shallbe deemed fully earned at the tnception of such
                   Extended Reporting Period. Any Claim made during the Extended Reporting Period shall be
                   deemed to have been made during the immediately preceding Policy Period. The Limit of Liability
                   for the Extended Reporting Period shall be part of and not in addition to the applicable Limits of
                   Liability for the immediately preceding Policy Period.


VIII.     LIMIT OF LIABILITY

          (A)      The Company's maximum liability for all Loss from each Claim first made during the Policy
                   Period shall not exceed the each Claim Limit of Liability set forth in ITEM 4(A)of the Declarations,
                   which amount shallbe part of and not in addition tothe amounts stated in ITEMS 4(B)and a(C)of
                   the Declarations.

          (B)      The Company's maximum aggregate liabilltyfor all disciplinary and grievance proceedings against
                   all lnsuredsshall not exceed the disciplinary and grievance proceedings Limit of Liability set forth
                   in ITEM a(B)of the Declarations, which amount shall be part of and not in addition to the amount
                   stated in ITEM a(C)of the Declarations.

          (c)      The Company's maximum aggregate liabilityfor all Lossfrom all Claimsfirst made during the
                   Policy Period shall not exceed the aggregate limit of liability set forth in ITEM 4(C) of the
                   Declarations, regardless of the number of Cla ims.



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          (D)     Defense Costs are pad of and not in addition to the Limits of Liability set forth in ITEM 4 of the
                  Declarations, and payment by the Company of Defense Costs shall reduce and may exhaust such
                  Limits of Liability.


IX.       RETENTION AMOUNT

          The Company's liability underthis Policy shall apply only to that part of covered Loss on account of each
          Claim (other than a disciplinary or gnerance proceeding) which is excess of the applicable Retention
          Amountsetforthin ITEM 5 of the Declarations. Such Retention Amount shall be depleted only by Loss
          otherwisecovered underthis Policy and shall be borne by the lnsured uninsured and at their own risk. ln
          the event that any lnsured Person is unwilling or unable to bear the Retention Amount it shall be the
          obligation of the Firm to bear such Retention Amount uninsured and at its own risk. No Retention Amount
          shall be applicable to a disciplinary or grievance proceeding.


X.        REPORTING

          (A)     ReportingofClaimsandWrongfulActs:

                  (1)            Claim is made against any lnsured, the lnsured shall, as a condition precedentto
                              lf a
                              exercising any right to coverage under this Policy, give to the Company written notice of
                              such Cla im as soon as practicable, but in no event later than the earliest of the following
                              dates:

                              (a)      if this Policy is either terminated or not renewed by the Firm, and if no Extended
                                       Reporling Period is purchased, thirty (30) days after the effective date of such
                                       expiration or termination;

                              (b)      if the Extended Reporting Period is purchased, the expiration date of the Extended
                                       Reporting Period; or

                              (c)      if the Company sends written notice to the Firm pursuant to Section )0(AX3)
                                       Termination of Policy, prior to the effective date of such termination.

                  (2)         lf during the Policy Period an lnsured becomes aware of a Wrongful Act which may
                              subsequently give rise to a Claim, and during the Policy Period the lnsured:

                              (a)      gives the Company written notice of such WrongfulAct, including a descriptionof
                                       the Wrongful Act in question, the identities of the potential claimants, the
                                       consequences that have resulted or may resultfrom the Wrongful Act, the
                                       damages that may result from the Wrongful Act and the circumstances bywhich
                                       the lnsured first became aware of the WrongfulAct; and

                              (b)      requests coverage underthis Policyforany Claim subsequentlyarisingfrom such
                                       WrongfulAct,

                              then the Company will treat any such subsequently resulting Claim as if it had been made
                              against the lnsured during the Policy Period;proMded that written notice of such Claim is
                              then given to the Company in accordance with paragraph (A)(1) of this Section X

                  (3)         All notices of Claimsand WrongfulActsrequired underthis Section Xmust be sent in
                              writing to the address set forth in Section X Notice.




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       (B)    I   nte rre lati onshi p of Clai ms:

              All Related Claimswill be treated as a single Claim made at the time the first of such Related
              Claimswas made, or when the first of such Related Claims is treated as having been made in
              accordance with Section XAX2), whichever is earlier.


XI.    NOTICE

       (A)    All notices to the Company under this Policy of Cla ims or Wrongful Acts which could give rise to a
              Claim shall be given in writing addressed to:

                                   Attn: Claims Department
                                   Chubb Group of lnsurance Companies
                                   82 Hopmeadow St.
                                   Simsbury, CT 06070-7683

       (B)    All other notices to the Company under this Policy shall be given in writing addressed to:

                                   Attn:   Underuuriting
                                   Chubb Group of lnsurance Companies
                                   2028 Hall's Mill Road
                                   Whitehouse Station, NJ     0BBB9

       (c)    Any notice given under X(A) or X(B) above shall be effective on the date of receipt by the
              Company at the address shown.


XII.   DEFENSE AND SETTLEMENT

       (A)    lt shall be the duty of the lnsured and not the duty of the Company to defend Claims made against
              the lnsured and to retain qualified counsel of its own choosing with the Company's prior written
              consent, such consent not to be unreasonably withheld.

       (B)    With respectto any Claim that appears reasonably likely to be covered in whole or in part under
              this Policy, the iompany shall have the right and shall be given the opportunity to effectively
              associate with the lnsured, and shall be consulted in adrance by the lnsured regarding the
              investigation, defense and settlement of such Claim, including but not limited to selecting
              appropriate defense counsel and negotiating any settlement. lt shall not be unreasonable for the
              Company to withhold its consent to the representation of any lnsured by another lnsured or, if
              morethan one lnsured is inr,rolved in a Claim, towithhold its consent to separate counsel for one
              or more of such lnsureds, unless there is a material actual or potential conflict of interest among
              such lnsureds.

       (c)    No lnsured shall settle or offer to settle any Claim, incur any Defense Costs, or otherwise assume
              any contractual obligation or admit any liability with respect to any Claim without the Company's
              priorwritten consent, whichshall not be unreasonably withheld. The Company shall not be liable
              ior any settlement, Defense Costs, assumed obligation or admission to which it has not gilten its
              prior written consent.



       (D)    lf any lnsured withholds consent to any settlement acceptable to the claimant in accordance with
              the Company's recommendation (a "Proposed Settlement"), then the Company's liability for all
              Loss, including Defense Costs, from such Claim shall not exceed the amount of the Proposed

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                SettlementplusDefense Costsincurred upto the date of the lnsured'srefusal to consent to the
                Proposed Settlement of such Claim.

        (E)     The Company shall have no obligation to pay Loss, including Defense Costs, or to defend or
                continue to defend any Cla im, after the Company's applicable Limit of Liability with respect to such
                Claim has been exhausted by the payment of Loss. lf the Company's Limit of Liability is exhausted
                by the payment of Loss prior to the expiration of this Policy, the Policy premium will be deemed
                fully earned.

The lnsured agrees to proVde the Company with all information, assistance and cooperation which the Company
may reasonably require and agree they will do nothing that may prejudice the Company's position or its potential or
actual rights of recovery.

The Company shall, upon written request, adwnce on a current basis Defense Costs owed under this Policy. As
a condition of any payment of Defense Costs before the flnal disposition of a Cla im, the Company may require a
written undertaking on terms and conditions satisfactory to it guaranteeing the repayment of any Defense Costs
paid on behalf of any lnsured if it is finally determined that this Policy would not cover Loss incurred by such
lnsured in connection with such Claim.


xilt    CHANGES IN EXPOSURE

        (A)     Acquisition of Additional Attorneys

                 lf, duringthe Policy Period, thetotalnumberof attorneysinthe Firm increases by more than five
                 percent (5%) as the result of the Firm's merger with or acquisition of any other law firm or any
                 group of attorneys who practices together at another law firm, the Firm must promptly give the
                 Company written notice thereof, and the Company will be entitled to impose such additional
                 coverage terms and charge such additional premium in connection therewith as the Company, in
                 its sole discretion, may require. Subject to the proVsions of this paragraph, coverage shall only be
                 proVded for such acquired attorneys with respect to Wrongful Acts committed or allegedly
                 committed after the date of such merger or acquisition.

        (B)      Conversion of Coverage under Certain Circumstances

                 lf, during the Policy Period:

                 (1)     all or substantially all of the Firm'sassets are acquired by another organization or person
                         or group of organizations or persons acting in concert,

                 (2)     Financial lmpairment occurs; or

                 (3)     the Firm merges orconsolidates into or with another entity such that the Firm is not the
                         survrMng entity,

                 then coverage proMded by this Policy shall continue unttl termination, but only with respect to
                 Claims for Wrongful Acts committed or allegedly committed prior to such event.

        The Firm shall give written notice of all events under this Section Xll to the Company as soon as
        practicable together with such other information as the Company may request. lf Financial lmpairment
        occurs, the entire premium for this Policy will be deemed fully earned as of the effective date of such
        Financial lmpairment.




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XIV.    REPRESENTATIONS AND SEVERABILITY

        ln issuing this Policy the Company has relied upon the statements, representations and information in the
        Application. Allof the lnsuredsacknowledge and agree that all such statements, representations and
        information (i) are true and accurate, (ii)were made or proVded in order to induce the Company to issue
        this Policy, and (iii) are material to the Company's acceptance of the risk to which this Policy applies.

        ln the event that any of the statements, representations or information in the Application are not true and
        accurate, this Policy shall be vcid with respect to any lnsured who knew as of the effectile date of the
        Application the facts thatwere not truthfully and accurately disclosed (whether or not the lnsured knew of
        such untruthful disclosure in the Application) or to whom knowledge of such facts is imputed. For
        purposes of the preceding sentence:

        (A)     the knowledge of any lnsured Person who is a past, present or future member of the management
                committee, executive committee or similar governing body of the Firm shall be imputed to the
                Firm,

        (B)     the knowledge of the person(s) who signed the Application for this Policy shall be imputed to all of
                the lnsureds; and

        (C)     except as provided in (A) above, the knowledge of an lnsured Person who did not sign the
                Application shall not be imputed to any other lnsured.


XV.     VALUATION AND FOREIGN CURRENCY

        All premiums, limits, Retention Amounts, Loss and other amounts under this Policy are expressed and
        payable in the currency of the United States of America. lf a judgment is rendered, a settlement is
        denominated or any element of Loss under this Policy is stated in a currency other than United States of
        America dollars, payment under this Policy shall be made in United States of America dollars at therate of
        exchange published in The Wall Street Journal on the date the final judgment is reached, the amount of the
        settlement is agreed upon or the element of Loss is due, respectively.


XVI.    SUBROGATION

        ln the event of any payment under this Policy, the Company shall be subrogated to the extent of such
        payment to all the lnsured's rights of recovery therefor, and the lnsured shall execute all papers required
        and shall do everything necessary to secure and preserve such rights, including the execution of such
        documents necessary to enable the Company effectively to bring suit or othenruise pursue subrogation
        rights in the name of any lnsured.


XVII.   ACTION AGAINST THE COMPANY

        Noaction may betaken against the Company unless, as a condition precedent thereto, there shall have
        been full compliance with all the terms of this Policy. No person or entity shall have any right under this
        Policy to join the Company as a party to any action against any lnsured to determine such lnsured's
        liability nor shall the Company be impleaded by such lnsured or legal representatives of such lnsured.




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XVIII.    FIRM RIGHTS AND OBLIGATIONS

          By acceptance of this Policy, the Firm acknowledges and agrees that it shallbe considered the sole agent
          oiand will act on behalf of each lnsured with respect to:the payment of premiums and the receiMng of any
          return premiums that may become due underthis Policy; the negotiation, agreement to and acceptance of
          endorsements;thegiving orreceiMng of any notice, rncluding but not limited to giMng notice of Claim or a
          notice of termination pulsuant to Section )C( Termination of Policy; and the receipt or enforcement of
          payment of a Loss (and the Firm shallbe responsibleforapplication of any such payment as proMded for
          in ifris Rotlcy). Each lnsured acknowledges and agrees that the Firm shall act on its behalf with respect to
          all such matters.


XIX.      ALTERATION AND ASSIGNMENT

          No change in, modification of, or assignment of interest underthis Policy shall be effective except when
          made by a written endorsement    to this Policy which is signed by an authorized employee of Chubb, a
          division of Federal lnsurance Company.


XX.       TERMINATION OF POLICY

          (A)       This Policy shall terminate at the earliest of the following times:

                    (1)     upon receipt by the Company of written notice of termination from the Firm; provtded that
                            this Policy may not be terminated by the Firm after the effective date of any       event
                            described in Section Xll Changes in Exposure (B);

                    (2)     upon expiration of the Policy Period as set forth in ITEM 3 of the Declarations;

                    (3)     twenty (20) days after receipt by the Firm of a written notice of termination from the
                            Company based upon nonpayment of premium, unless the premium is paid within such
                            twenty (20) day period; or

                    (4)     at such othertime as may be agreed upon by the company and the Firm.

          (B)       The Company shall refund the unearned premium computed at customary short rates if this Policy
                    isterminatedbytheFirm. Underanyothercircumstancestherefundshall becomputedprorata.
                    Payment or tender of any unearned premium by the Company shall not be a condition precedent to
                    the effectiveness of such termination, but such payment shall be made as soon as practicable.


XXI.      BANKRUPTCY

          Except as proMded in Section Xll. Changes ln Exposure, bankruptcy or insolvency of any lnsured shall
          not relieve the Company of its obligations nor deprive the Company of its rights or defenses under this
          Policy.


XXII      HEADINGS

          The descriptions in the headings and sub-headings of this Policy are solely for convenience, and form no
          part of the terms and conditions of coverage.



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1   4-02-9303 (=d. o4t2004)
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XXIII.   COMPLIANCE WITH APPLICABLE TRADE SANCTION LAWS

         This insurance does not apply to the extent that trade or economic sanct'tons or other laws or regulations
         prohibit the Company from providing insurance.




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                                     Lawyers   P   rofessio nal Li abi lity




                                       Schedule of Forms

To be attached to and form part of                 Company. Federal lnsuranceCompany
Policy   No.   6801-7832

lssued   to:   Brown, Goldstein & Levy, LLP




14-02-17956 (5/11 ed.)
14-02-9277 (5/0a ed.)
14-02-9337 (6/04 ed.)
D33664 (7t04 ed.)
MS-211379 (12117 ed.)




Form 14-02-1252   (Ed 02-01)
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                                                                                                    ENDORSEM ENT/RIDER



Effective date of
this endorsement: November 21,          201 8                 Company: Federal lnsurance Company

                                                              Endorsement No.    1



                                                              To be attached to and
                                                              form a part of Policy No. 6801-7832


lssued   to:   Brown, Goldstein & Levy, LLP




                                                AMEND NOTICE ENDORSEMENT

ln consideration of the premium charged, it is agreed that the Policy is amended by deleting Section X, NOTICE, and
replacing it with the following:

XI.      NOTICE

         (A)        All notices to the Company under this Policy of Cla ims or Wrongful Acts which could give
                    rise to a Claim shall be given in writing to one of the following addresses:

                            1       s   pec ialtyclaims@chubb.com   ;



                            2       Attn: Claims Department
                                    Chubb Group of lnsurance Companies
                                    82 Hopmeadow Street - PO Box 2002
                                    Simsbury, Connecticut 06070-7683; or

                            3       Attn: Claims Department
                                    Chubb Group of lnsurance Companies
                                    82 Hopmeadow Street
                                    Simsbury, Connecticut 06089

         (B)        All other notices to the Company under this Policy shall be gilten in writing addressed
                    to:

                            Attn: Chubb Specialty lnsurance Underwriting Department
                            Chubb Group of lnsurance Companies
                            2028 Hall's Mill Road
                            Whitehouse Station, NJ 08889

         (c)        Any notice given under X(A) or X(B) above shall be effective on the date of receipt
                    by the Company at the address shown.




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The title and any headings in this endorsement are solely for conrenience and form no part of the terms and conditions of
co\erage.


All other terms, conditions and limrtations of this Policy sl-nll remain unchanged




                                                          Authorized Repres entatile




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Effective date of
this endorsement: November 21, 2018                            Federal lnsurance Company

                                                               Endorsement    No.:   2

                                                              To be attached to and form a part of Policy
                                                               Number:               680'1-7832

lssued   to:   Brown, Goldstein & Levy, LLP


                                AMEND CHANGES IN EXPOSURE ENDORSEMENT

It is agreed that Section Xll. Changes in Exposure is amended by deleting paragraph (A)in its entirety
and replacing it with the following:

(A)       Acquisition of Additional Attorneys

          lf, during the Policy Pe riod, the total number of attorneys in the Firm increases by more than
          twenty-five percent (25%) as the result of the Firm's merger with or acquisition of any other law
          firm or any group of attorneys who practices together at another law firm, the Firm must promptly
          give the Company written notice thereof, and the Company will be entitled to impose such
          additional co\€rage terms and charge such additional premium in connection therewith as the
          Company, in its sole discretion, may require. Subject to the proMsions of this paragraph,
          coverage shall only be provided for such acquired attorneys with respect to WrongfulActs
          committed or allegedly committed after the date of such merger or acquisition.




ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED




Date: November24,2018                                            By
                                                                             Authorized Representative




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                                                                                                                ENDORSEMENT



Effective date of
this endorsement: November 21, 2018                           Company: Federal lnsurance Company

                                                              Endorsement No. 3

                                                              To be attached to and
                                                              form a part of Policy No. 6801-7832


lssued   to:    Brown, Goldstein & Levy, LLP




                                  MARYLAND AM ENDATORY             EN   DORSEM ENT

ln consideration of the premium charged, it is agreed that:

1   .    Section )C( Termination of Policy (A)(2) is amended to add the following at the end of such paragraph
         (2):

         "provided that if the Company does not renew this Policy it will mail at least forty-five (45) days'
         adrance written notice of non-renewal to the Firm at it's last known address. The Company will
         retain proof of mailing;"

2        Section )C( Termination of Policy (A)(3) is amended by deleting the "or" at the end of such paragraph
         (3) and adding the following:

         "provided thatsuchnoticeofterminationbytheCompanywillstatethespecificreasonfortermination
         and will be mailed by certificate of mailing; or"

J        Section    )C( Termination of   Policy (B) is amended to add the following at the end of such paragraph
         (B):

         "lf this Policyis financed by a premium finance company and this Policy is terminated, the Company
         shall refund the unearned premium, if any, to the premium finance company for the account of the
         Firm within forty-five (45)days of:

         (i)        receipt by the Company of written notice of termination from the premium finance company or
                    the Firm; or

         (ii)       the effectir,e date of termination by the Company

         Such unearned premium refund shall by calculated pro rata, excluding any expense constant,
         administrative fee or non-refundable charge filed with and approved by the insurance commissioner."


The Policy will be deemed to be amended to the extent necessary to effect the purposes of this Amendatory
Endorsement.




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The regulatory requirements set forth in this Amendatory Endorsement shall supersede and take precedence
o\er any provisions of the Policy or any endorsement to the Policy, whenever added, that are inconsistent
with or contrary to the provisions of this Amendatory Endorsement, unless such Policy or endorsement
provisions comply with the applicable insurance laws of the state of Maryland.

All otherterms, conditions and limitations of this policy shall remain unchanged.




                                                         Authorized Representatiw




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                                      ENDORSEMENT NO. 4
                                    SPECIFIC CLAIM EXCLUSION

This Endorsement, effectirc al12:01a.m. on Norcmber 21,2018, forms part of

      Policy No      6801-7832
      lssued to      Brown, Goldstein & Levy, LLP
      lssued by      Federal lnsurance Company

ln corsideration of the prernium cl"erged, it is agreed that nocolerage will be awilable underthis Policy
for any Claim agairst an lnsurcd based upon, arisingfrom, in corsequerce of, relatirg to, or in arry way
inrolving any circumstance(s) setforth below:

Austin Scarlett



All other terms, conditions and limitations of this Policy shall remain unchanged




                                                          Authorized Representatirc




D33664 (712004)                               Page   1
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                                                                                               ENDORSEM ENT/RlDER



Effectile date of
this endorsement/rider: Norember 21, 2018                     Federal lns urance Company

                                                              E   ndorsement/Rider No. 5

                                                              To be attached to and
                                                              form a part of Policy No. 6801-7832


lssued   to:   Brown, Goldstein & Levy, LLP



               LAWYERS PROFESSIONAL LIAB ILITY COVERAGE ENHANCEMENT ENDORSEME NT

ln consideration of the premium charged, it is agreed that

(1) Solely with respect to Outside Director Wrongful Acts, the Policy         is amended as follows

         (A) Section   1.,   INSURING CLAUSE of the Policy is amerded by adding the following INSURING
               CLAUSE:

                   OUTSIDE DIRECTORSHIP LIABILIry COVERAGE INSURING CLAUSE

                   The Company shall pay Losson behalf of an lnsured Percon on accountof any Outside
                   Director Claim first made against such lnsured Person dudng the Policy Period, or if
                   exercised, during the Extended Reporting Period, for an Outside DirectorWrongfulAct
                   committed by the lnsured Person before or during the Policy Period.

         (B) Solely with respect to the coverage afforded by this Endorsement under the OUTSIDE
             DIRECTORSHIP LIABILIry COVERAGE INSURING CLAUSE, Section II., DEFINITIONS,                 iS
               amended by adding the following definitions:

                   Outside Director Claim shall mean any of the following:
                   (a) (1) a written demand or written request for monetary damages or non-monetary
                             relief;
                       (2) a written demand for arbitration; or
                       (3) a civil proceeding commenced by the service of a complaint or similar pleading;
                           against an lnsured for an Outside Director WrongfulAct, including any appeal
                             therefrom, or

                   (b) a written request received by an lnsured to toll or waive a statute of limitations
                       relating to a potential Outside DirectorClaim described in subparagraph (a) above.

                       Except as mayotherwise be provided in Section X Reporting, an Outside Director
                       Claim will be deemed to have been first made when such Outside Director Claim is
                       commenced as set forth in this definition (or, in the case of a written demand or
                       written request, including but not limited to a demand for arbitration, when such
                       demand or request is first received by an lnsured).




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              Outside Director Wrongful Act shall mean any actual or alleged act, error or omission
              committed, attempted, or allegedly committed or attempted by an lnsured Person solely in the
              performance of services by such lnsured Person in his or her Outside Director Capacity.
              Outside Director Wrongful Act shall not include the performance of Professional Services
              by an lnsured Person for the Outside Organization.

              Outside Director Capacity shall mean service by an lnsured Person as a director, or
              trustee or equiralent position of an Outside Organization, but only during such time that
              such service is specifically directed or requested by the Firm or is performed with the
              adrance written permissionof the Firm.

              Outside Organization shall mean any non-profit entity, community chest, fund or
              foundation exempt from federal income tax as any organization described in Section
              501(c)(3), lnternal Revenue Code of 1986, as amended.

       (C) Solely with respect to the coverage afforded by this Endorsement under the OUTSIDE
           DIRECTORSHIP LIABILIry COVERAGE INSURING CLAUSE, the term Lossin Section II.,
           DEFINITIONS of the Policy, is amended by adding the following:

              Loss also shall not mean any salaries of officers or employees of the Outside
              Organization(s).

       (D) Solely with respect to the coverage afforded by this Endorsement under the OUTSIDE
           DIRECTORSHIP LIABILIry COVERAGE INSURING CLAUSE, the term C|aim in SectiOn II.
           DEFINITIONS of the Policy, is amended to include Outside Director Claim.

       (E) Solely with respect to the coverage afforded by this Endorsement under the OUTSIDE
           DIRECTORSHIP LIABlllry COVERAGE INSURING CLAUSE, Section lll., EXCLUSIONS of the
           Policy, is amended by adding the following Exclusions:

              The Company shall not be liable for Loss (including Defense Costs), on account of any Outside
              Director Claim:

              a.      based upon, arising from, or in consequence of any Outside Director Wrongful Act
                      committed prior to the Policy Period  if the lnsured Person, upon the first lnception Date of
                      coverage with the Company, knew or could have reasonably foreseen that such Outside
                      DirectorWrongfulAct might be the basis of a Claim;
              b.      by or on behalf of, or in the name or right of, any Outside Organization or any director,
                      officer, trustee or employee of such Outside Organization against an lnsured Person;

                      by an lnsured Person while servrng in an Outside Director Capacity, if such
                      Outside Director WrongfulAct is committed, attempted, or allegedly committed
                      or attempted, after the date.

                      (i)   such lnsured Person ceases to hold a position with the Firm for any reason;
                            or
                      (ii) seMce by such lnsured Peson         in an Outside Director Capacity ceases to
                            be at the specific request of the Firm; or

              d       based upon, arising from, or in consequence of any demand, suit administrative,
                      regulatory or other proceeding against an Outside Organization occurring prior to,
                      or pending as of the date the lnsured Person first commenced serving in his or
                      her Outside Director Capacity, of which such Outside Organization or any

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                       director, officer, or equiralent position with the Outside Organization received
                       notice or otherwise had knowledge as of such date.

      (F) Solely with respect to the coverage afforded by this Endorsement under the OUTSIDE
          DTRECTORSHIP LIABlLlry COVERAGE INSURING CLAUSE, subparagraphs (A)(3)and (A)(8)
          under Section lll., EXCLUSIONS of the Policy, are deleted and replaced respectively with the
          following:

          (AX3)        based upon, arising from, or in consequence of any demand, suit or other
                       proceeding pending against, or order, decree or judgment entered for or against
                       any lnsured, on or prior to the Pending or Prior Date set forth in ITEM 7 of the
                       Declarations, or the same or substantially the same fact, circumstance, situation,
                       transaction, event or Outside Director Wrongful Act underlying or alleged
                       therein;

          (A)(8)       based upon, arising from, or in consequence of the service of any lnsured Person
                       in his or her capacity as a partner, member, principal, director, officer, shareholder,
                       counsel, of counsel, or employee of any entity other than the Firm; proMded that
                       this Exclusion shall not apply to Outside Director Claims or where the lnsured
                       Person is acting in his or her capacity as a member, director or officer of any non-
                       profit professional legal association, its governing board, or any of its committees
                       with the consent of the Firm;

       (G) Solely with respect to the coverage afforded by this Endorsement under the OUTSIDE
           DIRECTORSHIP LIABILIry COVERAGE INSURING CLAUSE, SeCtiON V., OTHER INSURANCE,                           Of
           the Policy is amended by adding the following proMsions:

              OTHER INS URANCE AND I NDEMNI FICATION; PRES UMPTION OF INDEM                        Nl   FICATION

              a.   All colerage for Loss from Outside Director Claims against lnsured Personsfor
                   Outside Dire ctor Wrongful Acts will be s pecifically excess of, and will not
                   contribute with, any other insurance awilable to such lnsured Persons by reason of
                   their service in Outside Director Capacities, and any indemnification by any person
                   or entity other than the Firm, including any Outside Organization, awilable to such
                   lnsured Persons in connection with their service in Outside Director Capacities.

              b.   The certificate of incorporation, charter, articles of association or other organizational
                   documents of the Firm and each Outside Organization, including bylaws and
                   resolutions, will be deemed to have been adopted or amended to provide
                   Indemnification to the lnsured Personsto the fullest extent permitted by law.

       (H) Solely with respect to the coverage afforded by thrs Endorsement under the OUTSIDE
           DTRECTORSHIP L|ABlllry COVERAGE INSURING CLAUSE, the Policy is amended by
          adding the following provision:

                       NON.ACCUM ULATION OF LIM ITS

                       lf any Loss arising from any Outside Director Claim made against any lnsured
                       Person is insured under any other valid policy(ies) issued by the Company or any
                       parent, subsidiary or affiliate of the Company ('Other Policy(ies)"), then:

                       (i)   any payment under such Other Polrcy(ies) on account of a Outside Director
                             Claim also covered underthis Policy shall reduce, by the amount of any such
                             payment, the Company's Limit of Liability under this Policy; and

                       (ii) the maximum aggregate limit of liabrlity under the Other Policy(ies) for all Loss,
                            including Defense Costs, in respect of such Outside Dircctor Claim will not exceed

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                              the largest single available Limit of Liability under any applicable policy including this
                              Policy or the Other Policy(ies);

                        subject always to the maximum aggregate limit of liability as set forth below in paragraph
                        (J) of this Endorsement. Nothing in this paragraph is intended to increase the limit
                        alailable under the Other Policy(ies).

       (l) Solely with respect to the coverage
                                          afforded by this Endorsement under the OUTSIDE
           DIRECTORSHIP L|ABlllry COVERAGE INSURING CLAUSE, Section Xll., CHANGES lN
           E)POSURE of the Policy is amended by adding the following provision:

               Relinquishment of Positions

               a            lf an lnsured Person ceases to hold a position with the Firm for any reason, the
                            coverage proMded to such lnsured Person by this Policy shall continue, but only with
                            respect to any Outside Director Wrongful Act committed or allegedly committed by
                            such lnsured Person prior to the date on which the lnsured Person ceased to hold such
                            position.

               b.           lf an lnsured Person ceases to hold a position as a director and/or officer and/or trustee
                            of an Outside Organization for any reason, but continues to hold a position with the
                            Firm, the coverage proMded to such lnsured Person underthis Endorsementfor
                            Outside Director Claims made against such lnsured Person for Outside Director
                            WrongfulActsshallcontinue, but onlywith respectto any Outside DirectorWrongful
                            Act committed or allegedly committed by such lnsured Person prior to the date on which
                            the lnsured Person ceased to hold such position as a director and/or officer and/or
                            trustee of such Outside Organization.

       (J) The Company's maximum aggregate limit of liability for all Outside Director Claims
                                                                                            made against
          any and all lnsured Personswill be $500,000.00, which amountwill be part of, and not in addition to,
          the Company's maximum aggregate Limit of Liability underthis Policyfor all Lossfrom all Claimsfor
          which this Policy proMdes coverage.


(2) Solely with respect to Covered Subpoena Defense Expenses              and Reputational Crisis
   Management Expenses, the Policy is amended as follows:

       (A) Section    1.,   INSURING CLAUSE of the Policy is amerded by adding the following INSURING
           CLAUSES:

               (t)      covERED suBpoENA DEFENSE E)PENSES L|ABtLrry COVERAGE INSURING
                        CLAUSE

                        The Company shall pay on behalf of the lnsured a totalof up to $35,000 on account of
                        Subpoena Defense Expenses rncurred by the lnsured as a result of any and all
                        Covered Subpoenas served on the lnsured during the Policy Period.

               (ii)     RE P UTATIONAL CRIS IS MANAGE MENT             E)F   E NS   ES LIA BILIry COVE RAGE
                        INSURING CLAUSE

                        The Company shall pay on behalf of the lnsured a totalof up to $10,000 on account of
                        Reputational CrisisManagement Expensesincurred by the lnsured as a result of any
                        and all Reputational Crisis events arising during the Policy Period.

       (B) Solely forthe purposes of the coverage afforded by this Endorsement underthe COVERED
           SUBPOENA DEFENSE E)PENSES LlABlLlry COVERAGE and the REPUTATIONAL CRISIS
           MANAGEMENT EXPENSES L|ABlLlry INSURING CLAUSES, Section ll., DEFINITIONS, is
          amended by adding the following definitions.

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                Covered Subpoena means a subpoena seeking documents, testimony or other information
                from any lnsured in connection with Professional Services proMded by any lnsured, proVded
                that the s ubpoena does not arise out of any lawsuit to which any lnsured is a party and that no
                lnsured has or had ever been retained to provide Professional Services, including testimony,
                in connection with such lawsuit. Any notice that the lnsured proMdes to the Company in
                connection with a Covered Subpoena shall be deemed notification of a Claim orWrongful
                Act under Section X REPORTING of the Policy.

                Re   putational Crisis means   :

                (a)    the departure from the Firm (whether by death, illness or incapacitation), of an lnsured
                       Pe   rson,
                (b)    the potentialdissolution of the Firm,
                (c)    any act of workplace violence, or
                (d)    any event which any lnsured reasonably believes may have a materially adverse effect
                       on an lnsured Person's or the Firm's reputation.

                Reputational Crisis Management Expenses means the reasonable and necessary cosi of
                retaining, for a stipulated period of time with the prior approwl of the Company, an independent
                public relations consultant and the cost of associated advertising and public relations media
                and actiMties. Reputational Crisis Management Expenses are part of and not in addition to
                the Limits of Liability set forth in ITEM 4 of the Declarations, and payment by the Company of
                Reputational Crisis Management Expenses shall reduce and may exhaust such Limits of
                Liability.

                Subpoena Defense Expenses means reasonable legal fees and expenses incurred in
                responding to the Covered Subpoena or in seeking to quash or modifl7 a Covered Subpoena
                on any appropriate ground, including but not limited to grounds of attorney-client priMlege,
                attorney work product priMlege or any applicable statutory or common-law privtlege relating to
                the attorney-client or other applicable priMlege. Subpoena Defense Expenses do not include
                any remuneration, salaries, wages, tips, expense, overhead, or benefjts expenses of any
                lnsured, except with the prior written consent of the Company. Subpoena Defense Expenses
                are part of and not in addition to the Limits of Liability set forth in ITEM 4 of the Declarations,
                and payment by the Company of Subpoena Defense Expenses shall reduce and may exhaust
                such Limits of Liability

       (C) Solely for the purposes of the coverage afforded by this Endorsement under the COVERED SUBPOENA
           DEFENSE EXPENSES LlABlLlry COVERAGE and the REPUTATIONAL CRISIS MANAGEMENT
            E)PENSES LlABlllry INSURING CLAUSES, Section lX, RETENTION AMOUNT, is deleted.


(3) With respectto allcoverages
                            afforded underthe Policy, including coverages provided by this Endorsement
   Section Xl., DEFENSE AND SETTLEN/ENTof the Policy, subparagraph (D)is deleted and replaced with
   the following:

                (D)    lf any lnsured withholds consent to any settlement acceptable to the claimants in
                       accordance with the Company's recommendation (a "Proposed Settlement"), then the
                       Company's liability for all Loss, including Defense Costs, from such Claim shallnot
                       exceed:

                         (a)    the amount of the Proposed Settlement plus Defense Costs incurred up to
                                the date of the lnsured's refusal to consent to Proposed Settlement of
                                such Claim;plus;



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                          (b)   se\€nty percent (70%) of any Loss, including Defense Costs, in excess of the amount
                                referenced in subparagraph (a) abore, incurred in connection with such Claim; subject
                                in all ercnts to the applicable Retention Amount and the awilable Limit of Liability set
                                forth in the Declarations. The remaining thirty percent (30%) of any Loss, including
                                Defense Costs, in excess of the amount referenced in subparagraph (a)abow will be
                                borne by the lnsured uninsured and at its own risk.




The title and any headings in this endorsement/rider are solely for conr,enience and form no part of the terms and
conditions of corcrage.

All other terms, conditions and limitations of this Policy sinll remain unchanged




                                                          Authorized Representatile




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